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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                  Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,

        Defendants.



      [PROPOSED] AGREED UPON ORDER OF CONFIDENTIALITY CONCERNING
       PRIVILEGE LOGS OF INTERVENORS EBAY INC. AND MORGAN LEWIS &
                               BOCKIUS LLP

        Defendant Jim Baugh (“Defendant”) and Intervenors eBay Inc. (“eBay”) and Morgan

Lewis & Bockius LLP (“Morgan Lewis,” and together with eBay, “Intervenors”) hereby agree

that the privilege log(s) to be provided by Intervenors to the Defendant in connection with this

matter (each privilege log, a “Privilege Log,” and together, the “Privilege Logs”) shall be

governed by this Agreed Upon Order (“Order”), subject to amendment by further agreement of

Intervenors and the Defendant or by Order of the Court. Accordingly, the Defendant and

Intervenors agree as follows:

        1.     Intervenors contend that the Privilege Logs contain sensitive personal information

and/or information that is trade secret, commercially sensitive and/or highly confidential and that

would in the ordinary course by treated as confidential and not disclosed to third parties;

        2.     The Privilege Logs shall be used solely in connection with the preparation and

litigation of the Defendant’s legal defense in this case, including, for the avoidance of doubt, in

connection with any motion practice related to Defendant’s Fed. R. Crim. P. 17(c) subpoenas to

the Intervenors, and shall not be copied, disseminated or in any way disclosed to anyone outside
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the Defense Team (as defined infra) except as expressly provided for herein or by further Order

of the Court;

       3.       The Defendant’s Defense Team (defined as attorneys of record and their

employees or contractors/agents) may take reasonable steps necessary to load the Privilege Logs

onto secure servers (in-house or provided by third-party vendors) or networks or password-

protected encrypted electronic drives from which the Defense Team and the Defendant may

access, review, download, print and copy the Privilege Logs;

       4.       The Defendant and the Defense Team may access and review the Privilege Logs

on the secure servers or networks or hard drives as well as in hard copy form where needed;

       5.       The Defendant may maintain one physical and/or electronic copy of the Privilege

Logs, and Defense Team members and Defendant may exchange the Privilege Logs via email;

       6.       All persons, including the employees, contractors and/or agents of the

Defendants’ Defense Team, who are provided access to or copies of the Privilege Logs or access

to information contained in or derived from the Privilege Logs in connection with the preparation

and defense of this matter shall be advised of the privacy and confidentiality of such information

and their obligation not to disclose the information except as permitted by this Order;

       7.       Defendant’s Defense Team may share and discuss the Privilege Logs with Co-

Defendant David Harville and his Defense Team, subject to their written agreement to abide by

the terms of this Order;

       8.       No person who accesses or receives information contained in the Privilege Logs

from the Defendant’s counsel of record is permitted to further disseminate or further disclose any

such information, other than as permitted by this Order;




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       9.        The Defendant’s counsel of record shall maintain this Order in their files until the

conclusion of the litigation, including all appeals;

       10.       Except as otherwise ordered by the Court, any party wishing to file the Privilege

Log(s), or any portion thereof, must either (1) obtain written permission from Intervenors to file

such material in the public record, which will not be unreasonably withheld, or (2) move the

Court for leave to file the Privilege Log(s) under seal pursuant to Local Rule 7.2. Unless and

until the Court has ruled on such a motion, no party may file the Privilege Log(s), or any portion

thereof, in the public record. Nothing herein shall preclude a party from filing a pleading, brief,

or exhibit that attaches or recites verbatim from the Privilege Logs under seal with consent of the

Court. In the event that the Court denies a request to file the Privilege Log(s) under seal, the

party seeking to file the Privilege Log(s) shall give Intervenor(s) notice and an opportunity to be

heard by the Court before publicly filing the Privilege Log(s) in any pretrial pleading or pretrial

hearing;

       11.       At the conclusion of this litigation, including all appeals, all individuals

referenced in this Order who have received the Privilege Logs or information derived therefrom,

not to include attorney work product incorporating information from the Privilege Logs, shall

destroy such material or information. If any information or materials are not returned to

Intervenors, counsel of record for the Defendant shall provide written confirmation to the

Intervenors that such materials or information have been destroyed and that no other copies have

been retained;

       12.       Nothing in this Order shall be construed to prohibit the Defense Team from

providing the Privilege Logs to the Government as required by reciprocal discovery rules or




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practices or pursuant to a court order. Nothing in this Order is intended to prohibit or limit the

Government in discharging its discovery obligations;

       13.     Intervenors’ production of the Privilege Logs shall not constitute a waiver of

attorney client privilege or work product protection in this case or in any other federal or state

proceeding. Nothing contained herein is intended to or shall serve to limit Intervenors’ right to

conduct a review of documents, ESI or information (including metadata) for relevance,

responsiveness and/or segregation of privileged and/or protected information;

       14.     Nothing contained in this Order will preclude any party or Intervenors from

applying to the Court for further relief or modification of any provision thereof.



Dated: November 5, 2021


 /s/ William W. Fick                               /s/ Jack W. Pirozzolo
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Dated:

IT IS SO ORDERED:                           _______________________________




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